     Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 1 of 22 PageID #:3790




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


STEPHANIE LUKIS, MANTAS
NORVAISAS, and SHAWN BROWN,
individually and on behalf of all others
similarly situated,

               Plaintiffs,                       No. 1:19-cv-04871

v.                                               Judge Gary Feinerman

                                                 Mag. Judge Jeffrey Gilbert
WHITEPAGES, INC.,

               Defendant.


               WHITEPAGES, INC.’S MEMORANDUM IN SUPPORT
     OF MOTION TO DISMISS OR TRANSFER UNDER RULES 12(B)(1)-(B)(3)
 AND 28 U.S.C. § 1404(A) BASED ON LACK OF SUBJECT MATTER JURISDICTION,
          LACK OF PERSONAL JURISDICTION, AND ARBITRABILITY
      Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 2 of 22 PageID #:3791


                                                    TABLE OF CONTENTS

                                                                                                                                          Page


I.        Factual and procedural background ................................................................................... 1
          A.         Access to Whitepages’ Web site is governed by Whitepages’ Terms of
                     Use, which contain a mandatory arbitration provision .......................................... 2
          B.         Plaintiffs’ counsel accepted and agreed to be bound as an agent for
                     Plaintiffs ................................................................................................................. 4
II.       Argument ........................................................................................................................... 6
          A.         The Court should dismiss the case for lack of subject matter jurisdiction ............ 6
          B.         The Court should dismiss the case for lack of personal jurisdiction ..................... 8
          C.         The Court should dismiss or transfer the case as to Norvaisas and Brown
                     based on arbitrability.............................................................................................. 8
                     1.         Legal standards governing motions to dismiss or transfer based on
                                arbitrability and 9 U.S.C. § 4 ..................................................................... 8
                     2.         The FAA requires enforcement of Whitepages’ arbitration
                                agreement ................................................................................................. 10
                     3.         The Terms delegate the issue of arbitrability to the arbitrator ................. 14
III.      Conclusion ....................................................................................................................... 15




                                                                       -i-
   Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 3 of 22 PageID #:3792




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Carbajal v. H & R Block Tax Servs., Inc.,
   372 F.3d 903 (7th Cir. 2004) ...................................................................................................14

Dean Witter Reynolds, Inc. v. Byrd,
   470 U.S. 213 (1985) ...................................................................................................................1

Ervin v. Nokia, Inc.,
   812 N.E.2d 534 (Ill. 2004) .......................................................................................................13

Faulkenberg v. CB Tax Franchise Sys.,
   637 F.3d 801 (7th Cir. 2011) .....................................................................................................9

Figueroa v. Kronos Incorporated,
   2020 WL 4273995 (N.D. Ill. July 24, 2020) ..............................................................................8

First Options of Chicago, Inc. v. Kaplan,
    514 U.S. 938 (1995) .................................................................................................................10

Fischer v. Magyar Allamvasutak Zrt,
   777 F.3d 847 (7th Cir. 2015) .....................................................................................................9

Frank v. Gaos,
   139 S.Ct. 1041 (2019) ................................................................................................................6

Friends for Health: Supporting N. Shore Health Ctr. v. PayPal, Inc.,
   2018 WL 2933608 (N.D. Ill. June 12, 2018) ...........................................................................12

Gundrum v. Cleveland Integrity Servs., Inc.,
   2017 WL 414491 (W.D. Wisc. Jan. 31, 2017) ........................................................................10

Gupta v. Morgan Stanley Smith Barney, LLC,
   934 F.3d 705 (7th Cir. 2019) .....................................................................................................5

Gutierrez v. FriendFinder Networks, Inc.,
   2019 WL 1974900 (N.D. Cal. May 3, 2019) ...........................................................................11

Hartman v. Lisle Park Dist.,
   158 F. Supp. 2d 869 (N.D. Ill. 2009) .......................................................................................13

Henry Schein, Inc. v. Archer & White Sales, Inc.,
   139 S. Ct. 524 (2019) ...............................................................................................................15


                                                                   -ii-
   Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 4 of 22 PageID #:3793



                                                TABLE OF AUTHORITIES
                                                      (continued)
                                                                                                                                   Page


Hunt v. Moore Bros.,
   861 F.3d 655 (7th Cir. 2017) .....................................................................................................9

Hynan v. XPO Logistics Freight, Inc.,
   2019 WL 1598156 (S.D. Ind. Apr. 15, 2019) ............................................................................9

IBEW Local 2150 v. NextEra Energy Point Beach, LLC,
   762 F.3d 592 (7th Cir. 2014) ...................................................................................................14

Kontrick v. Ryan,
   540 U.S. 443 (2004) ...................................................................................................................7

Miracle-Pond v. Shutterfly, Inc.,
   2020 WL 2513099 (N.D. Ill. May 15, 2020) .....................................................................10, 11

O’Shea v. Littleton,
   414 U.S. 488 (1974) ...................................................................................................................7

Rent-A-Center, West, Inc. v. Jackson,
   561 U.S. 63 (2010) ...................................................................................................................14

Spokeo, Inc. v. Robins,
   136 S.Ct. 1540 (2016) ............................................................................................................6, 7

Starykowicz v. Int’l Mgmt. Group (UK) Ltd.,
    2014 WL 2514819 (N.D. Ill. June 4, 2014) ...............................................................................9

Tamburo v. Dworkin,
   601 F.3d 693 (7th Cir. 2010) .....................................................................................................8

Town of Chester v. Laroe Ests., Inc.,
   137 S.Ct. 1645 (2017) ................................................................................................................7

Treiber & Straub, Inc. v. UPS, Inc.,
   474 F.3d 379 (7th Cir. 2007) ...................................................................................................12

Warth v. Seldin,
  422 U.S. 490 (1975) ...................................................................................................................7

Statutes

28 U.S.C. § 1404 ....................................................................................................................1, 9, 10

Class Action Fairness Act, 28 U.S.C. § 1332(d) .....................................................................2, 6, 7

                                                                    iii
   Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 5 of 22 PageID #:3794



                                                TABLE OF AUTHORITIES
                                                      (continued)
                                                                                                                                    Page


Federal Arbitration Act, 9 U.S.C. §§ 3, 4 .............................................................................. passim

Illinois Right of Publicity Act, 765 ILCS § 1075/1, et seq. ...............................................2, 6, 7, 14

Other Authorities

Fed. R. Civ. P. 12(b)(1)................................................................................................................1, 6

Fed. R. Civ. P. 12(b)(2)............................................................................................................1, 7, 8

Fed. R. Civ. P. 12(b)(3)..........................................................................................................1, 7, 10

Fed. R. Civ. P. 23(b) .......................................................................................................................7




                                                                     iv
     Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 6 of 22 PageID #:3795




         Defendant Whitepages, Inc. (“Whitepages”) moves to dismiss the claims of plaintiffs

Stephanie Lukis, Mantas Norvaisas, and Shawn Brown (“Plaintiffs”) pursuant to Fed. R. Civ. P.

12(b)(1) for lack of subject matter jurisdiction and the claims of Norvaisas and Brown under Fed.

R. Civ. P. 12(b)(2) for lack of personal jurisdiction. Alternatively, Whitepages moves to dismiss

as to Norvaisas and Brown under Fed. R. Civ. P. 12(b)(3) for improper venue or to transfer the

case under 28 U.S.C. § 1404, based on arbitrability.1 With respect to Lukis, the Court recently

held that because Whitepages allegedly had “reason to suspect” that she had agreed to the

arbitration terms, Whitepages should have “immediately raised the issue by motion,” allowing the

parties to address arbitration. (ECF 175, the “April 23 Order,” pp. 12, 16). Accordingly,

Whitepages now so moves as to Norvaisas and Brown.

I.       Factual and procedural background

         After litigating for more than 15 months with only Lukis at the helm, Lukis’s counsel

sought leave to amend on November 9, 2020, to add claims from Norvaisas and Brown. (ECF 97).

More than six months later, the Court granted that motion (see April 23 Order, p. 23), and the FAC

was filed on April 26, 2021 (more than 21 months after this lawsuit was filed). (ECF 176). The

FAC’s allegations with respect to Norvaisas and Brown are essentially the same as the allegations

with respect to Lukis, which the Court recently held “clearly conveyed that Lukis had personally


1
  As explained in greater detail below, Whitepages has moved to dismiss or transfer based on
arbitrability because the Terms of Use at issue contain a forum selection clause identifying the
U.S. Western District of Washington as the proper forum to hear any disputes related to the
arbitration agreement. See infra p. 4. Accordingly, this Court lacks authority to compel arbitration
or stay this case pending arbitration, meaning the case should be dismissed or transferred. If the
case is dismissed and refiled in the U.S. Western District of Washington or transferred, that court
would then have the clear authority and the obligation to compel arbitration pursuant to the Federal
Arbitration Act. See 9 U.S.C. §§ 3, 4 (the “FAA”); Dean Witter Reynolds, Inc. v. Byrd, 470 U.S.
213, 218 (1985). That said, if the Court is inclined to treat this as a motion to compel arbitration,
as it did Whitepages’ prior motion (April 23 Order, p. 1), the Court should stay this case while
arbitration proceeds.

                                                -1-
    Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 7 of 22 PageID #:3796




visited the Whitepages website.”2 (April 23 Order, p. 15). As with Lukis, the FAC alleges that

Norvaisas and Brown “discovered that Whitepages uses [their] name, age, city of domicile, and

the identity of [their] relatives in advertisements on the Whitepages website” (FAC, ¶¶ 30, 37).

Thus, according to the Court, “[i]t is difficult to imagine how [they] might have ‘discovered’

advertisements on the website without visiting it.”3 (April 23 Order, p. 15).

        The FAC asserts subject matter jurisdiction under the Class Action Fairness Act (“CAFA”),

28 U.S.C. § 1332(d). The FAC asserts three bases for personal jurisdiction over Whitepages: (1)

“Whitepages purposefully subjects itself to jurisdiction in this Court by knowingly searching and

obtaining private and public records and/or identifying information on Illinois residents;” (2) “this

lawsuit revolves around Whitepages [sic] business practice of acquiring identifying information

about Illinois residents with the specific intent of selling that information to its customers;” and

(3) “Whitepages directly sells its services to consumers in Illinois.” (FAC, ¶¶ 20-21).

        A.     Access to Whitepages’ Web site is governed by Whitepages’ Terms of Use,
               which contain a mandatory arbitration provision.

        Norvaisas and Brown bring this case under the Illinois Right of Publicity Act, 765 ILCS §

1075/1, et seq. (“IRPA”), alleging that Whitepages violated IRPA by using their identities to

advertise other products and services. Plaintiffs’ claims depend entirely on the use of Whitepages’

Web site, which is governed in all respects by Whitepages’ Terms of Use. Whitepages owns and

operates the Web site www.whitepages.com, which offers public access to an online directory of


2
  Whitepages intends to appeal the Court’s decision on this issue and has filed a concurrent Notice
of Appeal with this memorandum. But in light of the Court’s decision, Whitepages is moving now
regarding arbitrability as to Norvaisas and Brown.
3
  Whitepages also disagrees with the Court’s conclusion on this issue because surfing the Web site
is not the only way to learn of it. For instance, Plaintiffs’ counsel trolled for potential plaintiffs
via Craigslist (see ECF 138, p. 5), and might have apprised the named plaintiffs when they
responded what happened when their names were searched on www.whitepages.com. Likewise,
others might have apprised the named plaintiffs.

                                                 -2-
    Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 8 of 22 PageID #:3797




information about people. See Declaration of Nadine Thisselle (ECF 90-1, “Thisselle Decl.”), at

¶¶ 3-4.4 The use of Whitepages’ Web site is governed by Whitepages’ Terms of Use (the

“Terms”). (Thisselle Decl., at ¶ 5 and Ex. 1). The Terms are an agreement between Whitepages

and the user of Whitepages’ Web site that “sets forth the legally binding terms for [the user’s]

access and use of the Services.” (Terms at p. 1). The Terms also provide that “[e]ach time that

you access or use the Services, you signify that you have read, understand, and agree to be bound

by these Terms, as well as [Whitepages’] Privacy Policy, which is incorporated by reference

herein.” (Id.). The Terms also direct the user, in bold and italic font, to “take a few minutes and

read the Terms of Use agreement that you’re entering into, and pay special attention to our

dispute resolution policy in Section 12.10 which requires binding arbitration in most

circumstances.” (Id.). That dispute resolution provision provides:

    ANY DISPUTE, CLAIM OR CONTROVERSY BETWEEN YOU AND WHITEPAGES
    RELATING IN ANY WAY TO THIS AGREEMENT OR YOUR ACCESS TO OR USE
    OF THE SERVICES OR CONTENT, WHETHER BASED IN CONTRACT, STATUTE,
    REGULATION, ORDINANCE, TORT (INCLUDING, WITHOUT LIMITATION,
    FRAUD,    MISREPRESENTATION,   FRAUDULENT       INDUCEMENT,   OR
    NEGLIGENCE), OR ANY OTHER LEGAL OR EQUITABLE THEORY (“DISPUTE”),
    WILL BE RESOLVED BY BINDING ARBITRATION IF IT CANNOT BE RESOLVED
    THROUGH NEGOTIATION AS SET FORTH IN THIS SECTION 12.10.
    ARBITRATION MEANS THAT THE DISPUTE WILL BE RESOLVED BY A
    NEUTRAL ARBITRATOR INSTEAD OF IN A COURT BY A JUDGE OR JURY. THE
    ARBITRATOR WILL DECIDE ALL THRESHOLD QUESTIONS, INCLUDING BUT
    NOT LIMITED TO, ISSUES RELATING TO THE ENFORCEABILITY,
    REVOCABILITY, OR VALIDITY OF THIS SECTION 12.10 AND WHETHER
    EITHER PARTY LACKS STANDING TO ASSERT THEIR CLAIM(S).

(Terms at § 12.10). Section 12.10 also includes a class action waiver, which provides:

    YOU AND WHITEPAGES EACH WAIVE ALL RIGHTS TO CONDUCT DISPUTE
    RESOLUTION PROCEEDINGS IN A CLASS ACTION OR CONSOLIDATED
    ACTION. YOU AND WHITEPAGES EACH AGREE THAT ANY DISPUTE

4
  This pleading relies on the Nadine Thisselle declaration filed on October 27, 2020, because the
facts set forth in that declaration remain the same. See Second Declaration of Nadine Thisselle,
attached as Exhibit A, at ¶¶ 3-4.

                                                -3-
   Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 9 of 22 PageID #:3798




    RESOLUTION PROCEEDINGS WILL BE CONDUCTED ONLY ON AN
    INDIVIDUAL BASIS, WITH THE SOLE EXCEPTION OF REPRESENTATIVE SUITS
    THAT ARE PERMITTED BY, AND DEEMED UNWAIVABLE UNDER, STATE
    LAW. IF FOR ANY REASON A CLAIM PROCEEDS IN COURT RATHER THAN IN
    ARBITRATION, WE EACH WAIVE ANY RIGHT TO A JURY TRIAL.

(Id.).

         Further, the Terms are governed by Washington law and the parties consented to the

jurisdiction of the U.S. Western District of Washington for claims that are not arbitrable:

    If the arbitrator determines this Section 12.10 is unenforceable, invalid, or has been
    revoked as to any claim(s), then the Dispute as to such claim(s) will be decided by the
    courts in the state of Washington, King County, or the United States District Court for the
    Western District of Washington, and the parties irrevocably submit to the exclusive
    jurisdiction of such courts. If the class action waiver clause is determined to be illegal or
    unenforceable, this entire Section 12.10 will be unenforceable, and the Dispute will be
    decided by the courts of the state of Washington, King County, or the United States District
    Court for the Western District of Washington, and the parties irrevocably submit to the
    exclusive jurisdiction of such courts.

(Id. at §§ 12.1, 12.10).

         B.     Plaintiffs’ counsel accepted and agreed to be bound as an agent for Plaintiffs.

         The Terms are at all times available via a clear and conspicuous hyperlink on Whitepages’

Web site, as show in the image below:




(Thisselle Decl., at ¶ 6). Additionally, users are required to affirmatively assent to the Terms

before purchasing a Background Report or signing up for other paid access to Whitepages’


                                                -4-
 Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 10 of 22 PageID #:3799




services.   As shown in the image below, users cannot complete any paid transaction on

Whitepages’ Web site without first checking a box indicating that they “agree to the Terms”:




(Thisselle Decl., at ¶ 13). Because, as reflected in the image above, purchases and paid access are

tracked by email address, Whitepages has not yet been able to search for any purchases by

Norvaisas and Brown because no discovery has occurred as to them. If any portion of this case is

not dismissed, transferred, or stayed, discovery ought to be limited to the question of arbitrability.

See Gupta v. Morgan Stanley Smith Barney, LLC, 934 F.3d 705, 709-10 (7th Cir. 2019).

       All parties and the Court are aware that Plaintiffs’ counsel used Whitepages’ services in

connection with his representation of Lukis (and now of Norvaisas and Brown). Both Plaintiffs’

counsel and the Court have acknowledged that agency is undisputed. During the December 10,

2020 hearing on Lukis’s motion for a protective order related to the deposition of Mr. Costales,


                                                 -5-
  Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 11 of 22 PageID #:3800




Mr. Costales noted, “We do admit that on July 21st, 2020, plaintiff’s counsel agreed to the terms

of use produced by Whitepages in the process of opposing defendant’s motion for summary

judgment.” (ECF 131-2 at 12:19-23). Likewise, the Court stated:

      I don’t think that there are any open or disputed factual questions that the defendant needs
      to obtain in a deposition from Mr. Costales that pertains to the agency issue that the
      defendant raised in its motion to compel arbitration. Even if Mr. Costales hadn’t admitted
      that he went beyond the pay wall for purposes of this case, I think it’s pretty clear from the
      chronology that that’s exactly what happened.

(Id. 15:22-16:8). Lukis herself also has confirmed Mr. Costales is her agent and that Mr. Costales

has authority from Lukis to do whatever he thinks is appropriate to act on her behalf in this case.

(Docket Entries 122-3 & 122-4 (“Lukis Dep.”) at 249:9-250:3). And the Court acknowledged in

its opinion that it is undisputed that “[Mr.] Costales agreed to the website’s terms of use” and “that

he bound [Lukis] as her agent.” (April 23 Order, p. 4). The Court further stated that “[a]s with

the arbitration clause, the court accepts as true that Lukis, through Costales’s purchase of a

Whitepages product, agreed to the forum selection clause.” (April 23 Order, p. 18). There is no

dispute that Mr. Costales, in his capacity as agent for Plaintiffs, accepted Whitepages’ Terms.

II.      Argument

         A.      The Court should dismiss the case for lack of subject matter jurisdiction.

         The FAC fails to establish subject matter jurisdiction and therefore should be dismissed

under Rule 12(b)(1). The FAC asserts CAFA jurisdiction, but Plaintiffs also must have Article III

standing. Simply having a potential IRPA claim for statutory damages does not itself confer

Article III standing. The Supreme Court “abrogated the [view] that the violation of a statutory

right automatically satisfies the injury-in-fact requirement whenever a statute authorizes a person

to sue to vindicate that right.” Frank v. Gaos, 139 S.Ct. 1041, 1046 (2019). No matter the source

of a cause of action or whether statutory damages are available, a plaintiff must always demonstrate

that she “suffered an injury in fact.” Spokeo, Inc. v. Robins, 136 S.Ct. 1540, 1547-48 (2016). To

                                                   -6-
    Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 12 of 22 PageID #:3801




qualify as injury-in-fact, an injury must be “distinct and palpable.” Warth v. Seldin, 422 U.S. 490,

501 (1975). It must be “particularized,” i.e., it “must affect the plaintiff in a personal and individual

way.” Lujan, 504 U.S. at 560 n.1. And it must be “concrete,” i.e., “it must actually exist.” Spokeo,

136 S.Ct. at 1548. “Abstract injury is not enough.” O’Shea v. Littleton, 414 U.S. 488, 494 (1974).

When plaintiffs seek to proceed on behalf of a class, courts need to be especially vigilant to ensure

that both the plaintiff and every class member has Article III standing “for each claim [the class]

seeks to press.” Town of Chester v. Laroe Ests., Inc., 137 S.Ct. 1645, 1650 (2017).

        Here, Plaintiffs have failed to plead a concrete injury to establish Article III standing over

their claims for statutory damages under IRPA. With respect to Lukis,5 she waived her claim for

damages in her motion for class certification by seeking only Rule 23(b)(2) certification (ECF

162), and at the hearing on March 9, 2021, Plaintiffs’ counsel acknowledged concerns about being

able to achieve certification of a Rule 23(b)(3) class. See Transcript of March 9, 2021 hearing,

12:4-13:7. Moreover, Lukis’s claim for injunctive relief is moot because her information is no

longer available via the Whitepages Web site. See ECF No. 62-1, ¶ 12.

        Lukis’s abandonment of a damages class is not surprising because Plaintiffs have not pled

— and cannot plead — that they and each member of the putative class suffered distinct,

particularized, and palpable injuries as a result of Whitepages’ alleged conduct that can be

remedied in federal court. Plaintiffs’ claims are, at best, abstract and constitute nothing more than

allegations of technical statutory violations. To the extent Plaintiffs may argue that their claims


5
  Although Whitepages has not previously moved on subject matter jurisdiction as to Lukis, “[a]
litigant generally may raise a court’s lack of subject-matter jurisdiction at any time in the same
civil action.” Kontrick v. Ryan, 540 U.S. 443, 455 (2004). Whitepages removed on July 19, 2019,
under CAFA based in part on plausibility of more than $5 million in controversy, but Whitepages
learned during Lukis’s deposition on January 5, 2021 that she’s not seeking actual damages. See
ECF 121-3, 229:5-14. And Whitepages learned on March 1, 2021 when Lukis filed her motion
for class certification that she’s not seeking certification of a damages class at all. (ECF 162).

                                                  -7-
    Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 13 of 22 PageID #:3802




of “emotional distress” are enough to establish subject matter jurisdiction, this Court has reasoned

otherwise, finding that a plaintiff lacks standing where “[a]ll he [was] left with [was] a claim that

the violation . . . [had] made him feel aggrieved” Figueroa v. Kronos Incorporated, 2020 WL

4273995, *5 (N.D. Ill. July 24, 2020) (Feinerman, J.) (emphasis in original). Accordingly, the

FAC should be dismissed at minimum as to Lukis for lack of subject matter jurisdiction. And the

claims of Norvaisas and Brown also should be dismissed for lack of subject matter jurisdiction

because the allegations fail to allege concrete harm sufficient to establish Article III standing.

        B.     The Court should dismiss the case for lack of personal jurisdiction.6

        Like Lukis before them, Norvaisas and Brown have failed to plead and cannot make a

prima facie showing of personal jurisdiction. If in the face of a Rule 12(b)(2) challenge a plaintiff

cannot establish a prima facie case of personal jurisdiction, the Court may dismiss the case based

solely on written materials submitted to the court. Tamburo v. Dworkin, 601 F.3d 693, 700 (7th

Cir. 2010). The arguments for dismissal of the FAC as to Norvaisas and Brown for failure to plead

personal jurisdiction are identical to the arguments Whitepages raised with respect to Lukis. See

ECF 17. Thus, in the interests of efficiency, Whitepages does not repeat those arguments here,

but rather incorporates them by reference. See ECF 17, at pp. 4-7. For the reasons set forth in that

brief, this case should be dismissed for failure to adequately plead personal jurisdiction.

        C.     The Court should dismiss or transfer the case as to Norvaisas and Brown
               based on arbitrability.

               1.      Legal standards governing motions to dismiss or transfer based on
                       arbitrability and 9 U.S.C. § 4

        Whitepages’ Terms require arbitration in Seattle, Washington. (Terms at 12.10). Because



6
  Whitepages recognizes that the Court has already found personal jurisdiction over Whitepages
for substantially similar claims asserted by Lukis. See ECF 37. Whitepages reasserts those
arguments here to preserve the issue for appeal.

                                                 -8-
  Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 14 of 22 PageID #:3803




this Court sits in a district outside of the jurisdiction that the parties selected for dispute resolution,

precedent provides that this Court cannot compel arbitration under the FAA.                     See, e.g.,

Faulkenberg v. CB Tax Franchise Sys., 637 F.3d 801, 808 (7th Cir. 2011) (“[A] district court

cannot compel arbitration outside the confines of its district.”). Accordingly, the proper remedy

consistent with and pursuant to 9 U.S.C. § 4 is for the Court to dismiss this case under the forum

non conveniens doctrine and allow Plaintiffs to assert their claims in the proper forum, if they so

choose. See Hunt v. Moore Bros., 861 F.3d 655, 657 (7th Cir. 2017) (holding that dismissal was

appropriate because a dispute that “belongs in the arbitral forum . . . is analogous to one based on

forum non conveniens”); Hynan v. XPO Logistics Freight, Inc., 2019 WL 1598156, at *2 (S.D.

Ind. Apr. 15, 2019) (“[W]here the appropriate forum is . . . an arbitral forum . . . then the court

must dismiss this matter under the common law forum non conveniens doctrine”); Starykowicz v.

Int’l Mgmt. Group (UK) Ltd., 2014 WL 2514819, *5 (N.D. Ill. June 4, 2014) (granting motion to

dismiss on forum non conveniens grounds based on parties’ forum selection agreement).

        Under forum non conveniens, a trial court may dismiss a case if it serves the convenience

of the parties and the ends of justice. See Fischer v. Magyar Allamvasutak Zrt, 777 F.3d 847, 866

(7th Cir. 2015). “When an alternative forum has jurisdiction to hear a dispute, a case can be

dismissed if trial in the plaintiff’s chosen forum would be more oppressive to the defendant than

it would be convenient to the plaintiff or if the forum otherwise creates administrative and legal

problems that render it inappropriate.” Id. at 866. Forum non conveniens is the appropriate vehicle

to dismiss a case that belongs in an arbitrable forum.

        Alternatively, the Court, consistent with 9 U.S.C. § 4, should transfer the case under 28

U.S.C. § 1404(a) to the U.S. Western District of Washington, which was selected by the parties to

resolve their non-arbitrable disputes and has the authority to compel arbitration. Section 1404(a)



                                                   -9-
    Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 15 of 22 PageID #:3804




provides, “For the convenience of parties and witnesses, in the interest of justice, a district court

may transfer any civil action to any other district or division where it might have been brought or

to any district or division to which all parties have consented.” 28 U.S.C. § 1404(a). Where a case

is pending in a district other than the forum selected by the parties’ arbitration agreement, the Court

may transfer the case pursuant to Section 1404(a) to the court that has authority to compel

arbitration. See, e.g., Gundrum v. Cleveland Integrity Servs., Inc., 2017 WL 414491, *6 (W.D.

Wisc. Jan. 31, 2017) (transferring case pursuant to forum selected in arbitration agreement)).

        Regardless of whether the Court dismisses based on forum non conveniens under Rule

12(b)(3) or transfers under 28 U.S.C. § 1404(a), this motion is brought pursuant to and consistently

with 9 U.S.C. § 4 so that arbitration can proceed (if Plaintiffs wish to continue to pursue their

claims) in the U.S. Western District of Washington.

                2.      The FAA requires enforcement of Whitepages’ arbitration agreement.

        Under the FAA, the arbitration provision in Whitepages’ Terms is enforceable against

Norvaisas and Brown (particularly given the Court’s view that it can be presumed from their

allegations that they surfed the Whitepages Web site). First, the Court must determine that

Whitepages’ Terms are a valid and binding agreement between the parties. Federal courts apply

state-law principles governing contract formation to determine the existence of an arbitration

agreement.7 First Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995); accord Miracle-

Pond v. Shutterfly, Inc., 2020 WL 2513099, *3 (N.D. Ill. May 15, 2020). Given Plaintiffs’


7
  The Terms include a “delegation clause” that provides, “The arbitrator will decide all threshold
questions, including but not limited to, issues relating to the enforceability, revocability, or validity
of this Section 12.10 and whether either party lacks standing to assert their claims.” (Terms at
§ 12.10.) But the Court must decide whether an agreement to arbitrate exists if the delegation
clause does not expressly delegate issues of contract formation to the arbitrator. See Miracle-
Pond, 2020 WL 2513099, at *3 n.2 (holding that the court was required to address the question of
contract formation before deciding to compel arbitration in the face of a similar delegation clause).

                                                  -10-
 Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 16 of 22 PageID #:3805




domicile in Illinois and presumed access to Whitepages’ Web site in Illinois, Illinois law governs

the formation of an agreement to arbitrate in this case. Agreements formed on the Internet are

analyzed under the same basic “mutual assent” principles that govern general written contracts.

The relevant inquiry for contract formation via the Internet is: (1) whether the agreement was

adequately communicated by the Web site; and          (2) whether the circumstances support the

assumption that the user receives reasonable notice of those terms. Miracle-Pond, 2020 WL

2513099, at *4.

       Courts distinguish between “browsewrap” and “clickwrap” agreements that bind users to

a site’s terms. Browsewrap agreements are formed by the user’s navigation or use of the site

without any additional step of signing or clicking to “accept” the agreement. See id. Browsewrap

agreements are enforceable where there is evidence of actual or constructive knowledge of the

terms. Id. at *3; see also Gutierrez v. FriendFinder Networks, Inc., 2019 WL 1974900, *7 (N.D.

Cal. May 3, 2019) (granting motion to compel arbitration on browsewrap terms).

       In the April 23 Order, the Court found that the language in the complaint describing Lukis’s

“discovery” of her information on the Web site “clearly conveyed that Lukis had personally visited

the Whitepages website” and “all but admitted that Lukis had visited the website.” (April 23

Order, pp. 15-16). The FAC uses identical language in describing how Norvaisas and Brown

“discovered” their information on the Web site. Accordingly, the Court should conclude that

Norvaisas and Brown visited the Web site. In so doing, they would have navigated to a page that

made the Terms available, as set forth above. See supra p. 5. This should suffice for constructive

knowledge, and, at minimum, raises the question of whether Norvaisas and Brown had actual or

constructive knowledge of the arbitration provision, meaning the case should proceed no further

until this issue is resolved. See Miracle-Pond, 2020 WL 2513099, at *3.



                                               -11-
 Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 17 of 22 PageID #:3806




       Clickwrap agreements are formed when a user clicks a button or checks a box that

explicitly affirms acceptance to the terms. Id. Courts routinely enforce clickwrap agreements as

modern-day agreements demonstrating clear notice of terms and manifestation of consent to those

terms. See Treiber & Straub, Inc. v. UPS, Inc., 474 F.3d 379, 382 (7th Cir. 2007) (“As is common

in Internet commerce, one signifies agreement by clicking on a box on the screen.”). Courts hold

that terms and conditions available by hyperlink — as Whitepages does on its Web site —

constitute reasonable notice. See e.g., Friends for Health: Supporting N. Shore Health Ctr. v.

PayPal, Inc., 2018 WL 2933608, *5 (N.D. Ill. June 12, 2018).

       Once a user purchases a product or service from Whitepages, a clickwrap agreement is

made, and that is the case for Mr. Costales. Under Illinois state-law principles, Mr. Costales

accepted and agreed to be bound by the arbitration provision in Whitepages’ Terms. On at least

two occasions, Mr. Costales purchased products from Whitepages that required Mr. Costales to

click a button affirming his acceptance and consent to Whitepages’ terms. (Thisselle Decl., ¶¶ 15-

17). In both instances, Mr. Costales accepted Whitepages’ Terms after acknowledging that he

reviewed the Terms “in detail” and after Whitepages served its Amended Answer asserting the

affirmative defense of arbitrability based on the Terms. (ECF 77-1 at ¶ 7; ECF 59 at p. 21-22).

Thus, Mr. Costales indisputably manifested his assent to be bound by Whitepages’ Terms and his

awareness of the arbitration provision in those Terms.

       Mr. Costales’s acceptance of the Terms binds Norvaisas and Brown because they chose to

retain Mr. Costales (who should have raised this issue). Mr. Costales has already conceded, and

the Court has acknowledged, agency as to Lukis. See supra pp. 5-6. Just as Mr. Costales is Lukis’s

agent, he is an agent for Norvaisas and Brown. “Agency is a consensual, fiduciary relationship

between two legal entities created by law, where the principal has the right to control the activities



                                                -12-
    Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 18 of 22 PageID #:3807




of the agent and the agent has the power to conduct legal transactions in the name of the principal.”

Ervin v. Nokia, Inc., 812 N.E.2d 534, 539 (Ill. 2004). Attorneys are considered agents for their

client. Hartman v. Lisle Park Dist., 158 F. Supp. 2d 869, 876-77 (N.D. Ill. 2009).

        Norvaisas and Brown are obligated to arbitrate their claims against Whitepages because

Mr. Costales was acting as the agent for his putative class representative clients (including

Norvaisas and Brown) when he agreed to be bound by Whitepages’ Terms.8 Mr. Costales admitted

in a declaration dated only two days after his purchase of two products from Whitepages that, “as

part of [his] investigation in this matter [he] personally interacted with Defendant’s website,

Whitepages.com,” and “reviewed in detail the terms of use.” (ECF 77-1 at ¶¶ 2, 7) (emphasis

added). And that investigation took place approximately seven weeks after Mr. Costales received

Whitepages’ Amended Answer notifying him that Whitepages was asserting an affirmative

defense of arbitrability (ECF 59) and months before Norvaisas and Brown were proposed as new

plaintiffs. When Mr. Costales twice clicked a box on Whitepages’ Web site to indicate his

agreement to be bound by Whitepages’ Terms, he bound his clients as well.

        Even if the Court were to conclude that Norvaisas and Brown are not bound to the Terms

by a browsewrap agreement and that they are not bound via agency, discovery may further

demonstrate that Norvaisas and Brown personally interacted with the Whitepages Web site and

accepted the Terms. Accordingly, if the Court does not dismiss, transfer, or stay, it should allow

the parties to “focus [ ] on the arbitration question—including by conducting any necessary



8
  Notably, in opposing Whitepages’ arbitrability motion as to Lukis, Plaintiffs did not dispute
agency, as acknowledged by the Court. See April 23 Order, at p. 4. Moreover, although the Court
suggests in the April 23 Order that it is “dubious” that Mr. Costales’s use of the Web site would
subject Lukis’s claims to arbitration because her claims accrued before the litigation began (Id. at
p. 4), those doubts should not be a factor here, given that Mr. Costales’s acceptances of the Terms
occurred well before Norvaisas and Brown appeared in this case.

                                                -13-
    Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 19 of 22 PageID #:3808




discovery—before broaching substantive issues in the case.” (April 23 Order, pp. 16-17).

               3.      The Terms delegate the issue of arbitrability to the arbitrator.

        Plaintiffs’ claims fall within the scope of Whitepages’ arbitration agreement and must be

submitted to arbitration. The arbitration provision in the Terms governs, in relevant part: “ANY

DISPUTE, CLAIM OR CONTROVERSY…RELATING IN ANY WAY TO THIS

AGREEMENT OR YOUR ACCESS OR USE OF [WHITEPAGES] SERVICE OR CONTENT.”

(Terms at § 12.10). The Seventh Circuit has frequently recognized the broad scope of similarly

worded arbitration provisions. Carbajal v. H & R Block Tax Servs., Inc., 372 F.3d 903, 904-05

(7th Cir. 2004) (“It would be hard to draft a broader [arbitration] clause.”). Plaintiffs’ claims under

IRPA depend entirely on the “access or use” of Whitepages’ site. They allege that IRPA is violated

when Whitepages displays a “free preview” of their personal information on its Web site and

allows users to purchase other products or services from that preview. (FAC at ¶¶ 8-12.) As a

result, the plain language of Whitepages’ Terms covers Plaintiffs’ claims in this action.9

        Moreover, to the extent that Plaintiffs contest the enforceability of the arbitration

agreement or that their IRPA claims fall within its scope (which their counsel did not do with

respect to Lukis), resolution of those disputes is for the arbitrator. Under the FAA, “parties can

agree to arbitrate ‘gateway’ questions of ‘arbitrability,’ such as whether the parties have agreed to

arbitrate or whether their agreement covers a particular controversy.” Rent-A-Center, West, Inc. v.

Jackson, 561 U.S. 63, 68-69 (2010). The Supreme Court has instructed that when an arbitration

agreement “clearly and unmistakably” contains a “delegation provision” — i.e., a clause

delegating “threshold issues” of arbitrability to the arbitrator — “the FAA operates on this


9
 If there were any doubts concerning the scope of the arbitrable issues, which there aren’t, the
FAA requires that ambiguities be resolved in favor of arbitration. IBEW Local 2150 v. NextEra
Energy Point Beach, LLC, 762 F.3d 592, 594 (7th Cir. 2014).

                                                 -14-
  Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 20 of 22 PageID #:3809




additional arbitration agreement just as it does any other.” Id. at 68-70 & n.1 (quotation omitted).

In other words, “[w]hen the parties’ contract delegates the arbitrability question to an arbitrator,

the courts must respect the parties’ decision as embodied in the contract.” Henry Schein, Inc. v.

Archer & White Sales, Inc., 139 S. Ct. 524, 531 (2019).

        The delegation clause in Whitepages’ arbitration provision is almost identical to the one

that the Supreme Court enforced in Jackson. There, the agreement provided that “[t]he Arbitrator

. . . shall have exclusive authority to resolve any dispute relating to the interpretation, applicability,

enforceability or formation of this Agreement including, but not limited to any claim that all or

any part of this Agreement is void or voidable.” Jackson, 561 U.S. at 66. Here, the arbitration

provision provides that “THE ARBITRATOR WILL DECIDE ALL THRESHOLD QUESTIONS

INCLUDING BUT NOT LIMITED TO, ISSUES RELATING TO THE ENFORCEABILITY,

REVOCABILITY, OR VALIDITY OF THIS SECTION 12.10 AND WHETHER EITHER

PARTY LACKS STANDING TO ASSERT THEIR CLAIMS.” (Terms at § 12.10). As a result,

the Court should dismiss or transfer this case so that the appropriate court can compel arbitration

if Plaintiffs contend that claims are not arbitrable or that the arbitration agreement is unenforceable.

III.    Conclusion

        For the foregoing reasons, Defendant respectfully requests that the Court dismiss the claims

of Lukis, Norvaisas and Brown for lack of subject matter jurisdiction, dismiss the claims of

Norvaisas and Brown for failure to adequately plead personal jurisdiction, or dismiss or transfer

the claims of Norvaisas and Brown based on the forum selection clause and arbitration provision

in Whitepages’ Terms. If the Court treats this Motion as a motion to compel arbitration, Defendant

respectfully requests that the Court stay the case to allow arbitration to proceed. To the extent the

case is not dismissed, transferred, or stayed, Defendant respectfully requests that the Court limit

discovery to the arbitration issue and Norvaisas and Brown.

                                                  -15-
  Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 21 of 22 PageID #:3810




Dated: May 4, 2021                                 Respectfully submitted,

                                                   WHITEPAGES, INC.


                                                   By:    /s/ Blaine C. Kimrey
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                                            -16-
 Case: 1:19-cv-04871 Document #: 183 Filed: 05/04/21 Page 22 of 22 PageID #:3811




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 4, 2021, a copy of the foregoing was electronically filed in the

ECF system. Notice of this filing will be sent to the parties of record by operation of the Court’s

electronic filing system.



                                                 /s/ Blaine C. Kimrey
                                                 Blaine C. Kimrey




                                               -17-
